375 F.2d 773
    Clarence MADSEN et al., Plaintiffs-Appellees (Cross-Appellants),v.CHRYSLER CORPORATION and Chrysler Motors Corporation, Defendants-Appellants (Cross-Appellees).
    No. 16078.
    No. 16079.
    United States Court of Appeals Seventh Circuit.
    March 9, 1967.
    
      Appeals from the United States District Court for the Northern District of Illinois, Eastern Division; Hubert L. Will, Judge.
      Theodore A. Groenke, Chicago, Ill., for Clarence Madsen.
      George B. Christensen, Chicago, Ill., for Chrysler Corp.
      Before HASTINGS, Chief Judge, and SWYGERT and FAIRCHILD, Circuit Judges.
    
    ORDER
    
      1
      This matter comes before the Court on the motion of Chrysler Corporation and Chrysler Motors Corporation to reverse judgment and remand cause with directions to dismiss complaint on the grounds of mootness, and the answer of counsel for Clarence Madsen, et al. to said motion.
    
    
      2
      On consideration whereof, it is hereby ordered and adjudged by this Court that the final judgment in this cause entered by the United States District Court for the Northern District of Illinois, Eastern Division, 261 F.Supp. 488, be, and the same is hereby vacated, and that this cause be, and the same is hereby remanded to the said District Court with directions to dismiss the complaint, without prejudice and without costs, the controversy being moot.
    
    